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12                              UNITED STATES DISTRICT COURT

13                             NORTHERN DISTRICT OF CALIFORNIA

14                                      SAN FRANCISCO

15

16   OPEN SOURCE SECURITY, INC., and            Case No. 3:17-cv-04002-LB
     BRADLEY SPENGLER,
17                                               [PROPOSED] ORDER GRANTING
                          Plaintiffs,            DEFENDANT’S MOTION TO
18                                               CHANGE TIME AND CONTINUE
            v.                                   PROCEEDINGS ON OPEN SOURCE
19                                               SECURITY, INC.’S MOTION FOR
     BRUCE PERENS, and Does 1-50,                PARTIAL SUMMARY JUDGMENT
20                                               PENDING RESOLUTION OF
                          Defendants.            DEFENDANT’S RENEWED ANTI-
21                                               SLAPP MOTION AND RENEWED
                                                 MOTION TO DISMISS FOR FAILURE
22                                               TO STATE A CLAIM

23                                               Judge: Hon. Laurel Beeler

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28                                                         [PROPOSED] ORDER GRANTING
                                                      DEFENDANT’S MOT. TO CHANGE TIME
                                                     AND CONTINUE PROCEEDINGS ON MPSJ
                                                               CASE NO. 3:17-CV-04002-LB
        Case 3:17-cv-04002-LB Document 26-2 Filed 10/20/17 Page 2 of 2



 1                                           [PROPOSED] ORDER
 2           IT IS HEREBY ORDERED THAT:
 3           Defendant Bruce Perens’s Motion to Change Time and Continue Proceedings on Plaintiff
 4   Open Source Security, Inc.’s Motion for Partial Summary Judgment Pending Resolution of
 5   Defendant’s Renewed Anti-SLAPP Motion and Renewed Motion to Dismiss for Failure to State a
 6   Claim is GRANTED. The deadline for Defendant to oppose Plaintiff’s Motion for Partial
 7   Summary Judgment (ECF No. 24), currently falling on October 25, 2017, and the hearing on
 8   Plaintiff’s Motion, currently set for November 16, 2017, are continued until after the issuance of
 9   an order by this Court on Defendant’s forthcoming renewed special motion to strike the First
10   Amended Complaint (ECF No. 18) under California’s anti-SLAPP law and renewed motion to
11   dismiss for failure to state a claim.
12           In the event the Court’s order does not dismiss or strike Plaintiff’s claim of defamation per
13   se, the new deadlines for briefing and hearing on Plaintiff’s Motion for Partial Summary
14   Judgment shall be the following:
15           Opposition deadline:            14 days after entry of order
16           Reply deadline:                 7 days after filing of Defendant’s opposition
17           Hearing on Motion:              First Thursday at least 35 days after entry of order
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19           IT IS SO ORDERED.
20    Dated: _____________________
21                                                      ____________________________
                                                        The Honorable Laurel Beeler
22                                                      United States Magistrate Judge
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28                                                                     [PROPOSED] ORDER GRANTING
                                                                  DEFENDANT’S MOT. TO CHANGE TIME
                                                       1         AND CONTINUE PROCEEDINGS ON MPSJ
                                                                           CASE NO. 3:17-CV-04002-LB
